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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
FELIPE GALINDO, et al.,

                               Plaintiffs,

       -v-
                                                         CIVIL ACTION NO.: 21 Civ. 45 (AJN) (SLC)

                                                               SETTLEMENT CONFERENCE
YUMMY FOODS DELI CORP., et al.,
                                                                  SCHEDULING ORDER
                               Defendants.


SARAH L. CAVE, United States Magistrate Judge.

       The parties report that discovery is moving forward and request a settlement conference

in January 2022. (ECF No. 77). Accordingly, the upcoming November 23, 2021 status conference

(ECF No. 68) is CANCELLED, although the parties may request a status conference should any

issues arise requiring judicial intervention.

       A settlement conference is scheduled for Thursday, January 13, 2022 at 2:00 pm and will

take place by telephone. The parties are directed to call the Court’s conference line at 866-390-

1828; access code: 380-9799, at the scheduled time.

       The Court will conduct the conference on its telephone conference line unless all parties

prefer that the conference occur by videoconference, in which case, the Court could host a

videoconference through the Microsoft Teams platform, or Counsel may host a video conference

on a platform such as Zoom, after conferring and attaining the consent of opposing counsel. The

request and/or video conference details should also be emailed to Chambers at least one week

before the scheduled conference.
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        Counsel are expected to read the Court’s “Standing Order Applicable to Settlement

Conferences Before Magistrate Judge Cave,” (“Standing Order”) which is attached and

incorporated by reference in this Order. The Court’s Settlement Practices, contained in the

Settlement Conference Scheduling Order and the Court’s Standing Order, serve to prepare the

Court and the parties for a productive settlement conference. On receipt of this Order, each

counsel is directed to confirm with all other counsel, and any pro se parties, that they have

received a copy of this Order.

        Plaintiffs are directed to make a settlement demand to the defendants (or reaffirm any

prior demand) no later than fourteen (14) days before the settlement conference. Defendants

shall inform Plaintiffs of their response to the demand no later than seven (7) days before the

conference. If either party fails to comply with this requirement, the other side must: (i) promptly

remind that party of its obligation to comply; 1 and (ii) advise the Court that the required

settlement negotiations have not taken place.

        The parties should note that paragraph 4 of the Standing Order requires certain written

submissions, which must be received by the Court and opposing counsel no later than midnight

four (4) business days before the conference: that is Friday, January 7, 2022. These submissions

must be emailed to Chambers at cave_nysdchambers@nysd.uscourts.gov; the submissions

should not be submitted via the ECF system. Counsel must ensure that their client(s) and

insurer(s), if any, have read the other side’s submission before the conference.




1
 The parties are reminded that demands and responses must include all material, non-monetary elements, and that
such non-monetary elements must be reflected in the portion of the letter required by paragraph 4 of the Standing
Order that describes past settlement negotiations. Any monetary offers made before or during the settlement
conference are presumed to be offers to pay within 30 days unless specifically stated otherwise.

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       The parties are also directed to pay particular attention to paragraphs 3 and 7 of the

Standing Order, which set forth who must appear at the settlement conference. As noted in

paragraph 7, corporations (and any other party that is not a natural person) must send to the

conference the person responsible for giving settlement authority within the organization, not

someone who has received authority from another person. In addition, if an insurer has any role

in approving a settlement, a representative of the insurer with responsibility for authorizing

settlement must also attend the conference. Counsel is responsible for ensuring that the

appropriate individuals appear.

       Pursuant to paragraph 9 of the Standing Order, counsel must seek a change in the date

of the conference if (1) an adjournment would permit a party to obtain information that would

make the conference more productive, or (2) a client who would otherwise participate by

telephone would be available to attend the conference in person if held on another date. Counsel

are directed to follow the instructions in paragraph 9 to request an adjournment.

       A defendant who intends to raise a lack of financial resources as a basis for its settlement

position must comply with the procedures in paragraph 10 of the Standing Order.

       Any party seeking a modification to the procedures required by this Order should make

an application promptly by Letter-Motion filed on ECF and should state the position of all other

parties as to the proposed modification. Such a Letter-Motion must be sent separately from the

letter required by paragraph 4 of the Standing Order and must comply with Magistrate Judge

Cave’s Individual Practices available at https://www.nysd.uscourts.gov/hon-sarah-l-cave.

       Should the parties resolve the litigation before the conference date, they must notify the

Court in writing immediately.


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         The Clerk of Court is respectfully directed to set this conference as a settlement

conference even though it will take place by telephone.

Dated:         New York, New York
               November 15, 2021

                                                   SO ORDERED.


                                                   _________________________
                                                   SARAH L. CAVE
                                                   United States Magistrate Judge




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                                       UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF NEW YORK
SARAH L. CAVE
UNITED STATES MAGISTRATE JUDGE

    Standing Order Applicable to Settlement Conferences Before Magistrate Judge Cave
1. Settlement conferences form no part of the record. All communications made as part of the
   settlement conference process are strictly confidential and may not be used for any purpose
   either in this litigation or elsewhere.

2. Magistrate Judge Cave will function as a mediator, attempting to help the parties reach
   agreement on terms of settlement. This process requires that counsel and their clients be
   both prepared for the conference and candid with the Court. The Court expects to hold only
   one settlement conference.

3. Each party must attend the settlement conference in person, accompanied by that party's
   lead trial attorney. Counsel must be fully knowledgeable concerning the facts of the case,
   relevant law, and the progress of the case to date, including settlement discussions.

4. No later than four business days before the conference, each party must send to the Court
   and opposing counsel a letter of no longer than four (4) pages marked “Confidential Materials
   For Use Only At Settlement Conference,” setting forth concisely the following: (1) a discussion
   of the relevant facts and applicable law, with an emphasis on the issues more pertinent to
   settlement, including a discussion of liability and damages in the event liability were
   established; (2) if non-monetary relief is sought in addition to or instead of money damages,
   each party must set forth its position as to the provision of such relief; and (3) the history of
   settlement discussions, if any, including any prior offers or demands.2 This letter must be
   received by the Court and opposing counsel no later than midnight four business days before
   the settlement conference. Counsel must immediately provide a copy of the opposing party’s
   letter to their client and/or insurer, and must also ensure before the conference that the
   client and/or insurer has read the opposing party’s letter. This letter, along with the
   Acknowledgment Form that appears following this Standing Order, must be sent to the Court
   by hand delivery or by email to: cave_nysdchambers@nysd.uscourts.gov. Any application for
   adjournment or other modification of the conference must be submitted via Letter-Motion
   on ECF in accordance with Magistrate Judge Cave’s Individual Practices, found at:
   https://www.nysd.uscourts.gov/hon-sarah-l-cave.

5. At the settlement conference, counsel for each side should expect to make a succinct
   presentation (10-15 minutes) in the presence of all parties and the Court summarizing the
   issues counsel believes are important for the client(s) and/or insurer(s) of the opposing party
   to consider for purposes of formulating a settlement position. The purpose of the
   presentation is to address and persuade the opposing party, not the Court. Thus, it is usually
   (1) unnecessary to recount in full the background of the dispute, and (2) unhelpful to discuss

2
    The Court notes that it is normally unhelpful for a party to state in this letter its final settlement position.

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   issues raised in the opposing party’s confidential settlement letter. The Court prefers that
   counsel not use slideware or other summary presentations, although key evidence from
   discovery in the case, that has previously been disclosed to the opposing party at least five
   (5) days before the conference or is already in the possession of the opposing party, may be
   helpful. After the initial statements, counsel may respond and have their clients speak if they
   choose.

6. Following the presentations, the Court will meet separately with each side in private. In these
   meetings, the parties and their counsel must be prepared to inform the Court of the amount
   of attorneys’ fees and expenses incurred to date, and an estimate of the remaining costs
   (including attorneys’ fees) of litigating the case to judgment, including appeal.

7. The presence in person of each party (the client), in addition to counsel, is essential to the
   settlement process. Also, if an insurance company has any role in approving a settlement,
   the decision-making representative of the insurer must attend in addition to the insured
   party. Because it is important that the decisionmakers on settlement hear their adversaries’
   presentations and be available to answer questions from the Court, the person who attends
   the conference must be the person with ultimate responsibility for determining the amount
   of any settlement. Corporations, and any other party that is not a natural person, and
   insurers must send to the conference the person ultimately responsible within the
   organization for giving settlement authority, not someone who has received authority from
   someone else. If a party believes that the individuals scheduled to attend the conference on
   behalf of the opposing party do not comply with this requirement, that party shall
   immediately confer with the opposing party and inform the Court by letter promptly if no
   resolution is reached.
           a. In cases where the City Comptroller has authority over settlement, the Assistant
               Corporation Counsel shall arrange in advance of the conference for a
               representative of the Comptroller either to attend the conference or to be
               available by telephone.
           b. A client or insurer’s attendance by telephone may be permitted if the party lives
               and works more than 100 miles from the Courthouse and it would be a great
               hardship for the party to attend the conference on any date. In these
               circumstances, if more than one individual will be appearing by telephone, the
               parties must immediately arrange for a toll-free conference call number that the
               individuals and the Court may dial into for the conference.
           c. If a party does not speak fluent English, the party must bring an experienced
               simultaneous interpreter. Counsel may not serve as the interpreter. Counsel
               should call Chambers if there is any difficulty securing an interpreter.

8. If a party fails to attend the settlement conference with all of the required persons—counsel,
   the client(s), the decision-making representative from the insurer, if any, and an interpreter,
   if needed—that party may be required to reimburse all of the other parties for their time and
   travel expenses, and may face other sanctions.


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9. If counsel becomes aware of the need or potential need for an adjournment of the date of
   the conference, counsel must make an application for the adjournment as soon as counsel is
   aware of the need. If the application is made more than fourteen (14) days in advance of the
   conference, no cause need be provided. Otherwise, counsel must provide reasons for seeking
   the adjournment.
          a. The parties are required to seek an adjournment if (1) an adjournment would
               permit discovery or exchange of information that would make the conference
               more fruitful, or (2) a client or insurer who would otherwise participate by
               telephone would be available to attend in person if the conference were held on
               another date. To seek a new date within 45 days of the originally-scheduled
               conference, contact Chambers at (212) 805-0214 to obtain an alternative date and
               time. Counsel must then immediately consult with all other counsel as to their,
               their clients’, and their insurer’s availability on the new date. The party must then
               file a Letter-Motion via ECF in accordance with Magistrate Judge Cave’s Individual
               Practices requesting the new date and time and indicating that it is agreed by all
               parties. If the party wishes to postpone by more than 45 days, an adjournment
               sine die should be sought by Letter-Motion, should provide the position of each
               party as to the request, and should specify an approximate time period when the
               conference should be held. The Court notes that the scheduled conference date
               is not changed unless and until the Court grants the written application to change
               the date.

10. If a defendant intends to claim that its financial situation is relevant to any potential or actual
    settlement offer (either based on the amount offered or a proposal to pay any portion in
    more than 30 days), the defendant shall inform plaintiff of this fact no later than fourteen
    (14) days before the conference. The parties should then discuss whether plaintiff seek proof
    of defendant’s claim and whether the defendant is willing to provide such proof, which must
    be provided at least three (3) days before the conference. A summary of any discussions on
    this topic shall be included in the letters required under paragraph 4 of this Standing Order.

11. The scheduling of a settlement conference has no effect on any deadlines or other pending
    obligations in the action.




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                           ATTENDANCE ACKNOWLEDGMENT FORM


CASE NAME: ___________________________________________________________________

DOCKET NUMBER: ______________________________________________________________

I represent the               Plaintiff             Defendant



       I acknowledge that I am attending a virtual settlement conference on Judge Cave’s
       Telephone Conference Line on ____________________ at _______________________.
       Please provide the name of any co-counsel who will attend the conference with you.
       ________________________________________________________________________
       ________________________________________________________________________
       ________________________________________________________________________


       I acknowledge that my client, and any other relevant decisionmakers, will attend the
       settlement conference.
       Please provide the name and title, if applicable, of the individuals who will attend:
       ________________________________________________________________________
       ________________________________________________________________________
       ________________________________________________________________________


Next to the name of each conference participant, please indicate the last four digits of the phone
number from which they will be calling into the conference, e.g., John Doe (1234).


___________________________                                         _______________________
Signature                                                           Date

_________________________
Name (print)




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